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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 ALLISON NAVAR, et al.                                        :
                                              Plaintiffs, :
                                                              :   18 Civ. 10476 (LGS)
                            -against-                         :
                                                              :         ORDER
 WALSH CONSTRUCTION COMPANY II,                               :
 LLC, et al.,                                                 :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS, on May 7, 2020, a conference was held at which an oral opinion was issued.

For the reasons stated at the conference, it is hereby

          ORDERED that conditional certification is GRANTED as to a collective “consisting of

all female employees of any Defendant who: (1) have been assigned to work at the Joint Venture

among Defendants for a redevelopment project at Laguardia Airport (“JV”), at any time three

years prior to the [NOTICE DATE] and (2) worked on any of five site-wide “coordination”

groups at the JV – (a) Environmental, Health & Safety, (b) Quality, (c) Design/Build

Management, (d) Commercial Management, or (e) Financial (which contains the sub-groups of

Project Controls, Business Management, Project Accounting & Finance).” Any opt-in plaintiffs

may recover only on claims that arose within three years prior to their joining this action. It is

further

          ORDERED that, by May 14, 2020, pursuant to this Court’s Order at Dkt. No. 83, the

parties shall file a letter proposing a schedule for merits-based discovery. It is further

          ORDERED that, by May 21, 2020, the parties shall meet and confer and file a joint

letter with (1) the proposed notice; (2) the proposed distribution methods for the notice; and (3)

the agreed upon timeline for next steps.

Dated: May 7, 2020
       New York, New York
